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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


KIRK MACKEY,                                         )
                                                     )
                              Plaintiff,             )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No. 4:23-CV-04318
ASA PARTNERS, L.P.,                                  )
                                                     )
                              Defendant.             )

                                           COMPLAINT

       COMES NOW, KIRK MACKEY, by and through the undersigned counsel, and files this,

his Complaint against Defendant, ASA PARTNERS, L.P., pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff, KIRK MACKEY (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.


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        5.     Plaintiff uses a wheelchair for mobility purposes.

        6.     In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. Her

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

        7.     Defendant, ASA PARTNERS, L.P. (hereinafter “ASA PARTNERS, L.P.”), is a

Texas limited partnership that transacts business in the State of Texas and within this judicial

district.

        8.     Defendant, ASA PARTNERS, L.P., may be properly served with process for

service via its Registered Agent, to wit: c/o Vantage Point Real Estate Group, L.P., Registered

Agent, 11240 FM 1960 Rd. West, Suite 408, Houston, TX 77065.

                                  FACTUAL ALLEGATIONS

        9.     On or about November 2, 2023, Plaintiff was a customer at “Snowflake Donuts,”

a business located at 13110 FM 529, Houston, TX 77041, referenced herein as “Snowflake

Donuts”. Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also attached

is a photograph documenting Plaintiff’s visit to the Property. See Exhibit 2.




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       10.     Defendant, ASA PARTNERS, L.P., is the owner or co-owner of the real property

and improvements that Snowflake Donuts is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       11.     Plaintiff lives only 9 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 13110 FM 529, Houston, TX 77041,

Harris County Property Appraiser’s property identification number: 1157560000009, (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, ASA PARTNERS, L.P., is compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Property, including those set forth in this Complaint.

       13.     Defendant, ASA PARTNERS, L.P., as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, ASA PARTNERS, L.P. and the tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s independent

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends to revisit the Property within six months after the barriers to

access detailed in this Complaint are removed and the Property is accessible again. The purpose

of the revisit is to be a return customer of Snowflake Donuts, to determine if and when the

Property is made accessible and for Advocacy Purposes.



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          15.   Moreover, while he was a customer at the Property, Plaintiff saw there was a

Korean fried chicken restaurant called 92 Chicken also at the Property. Plaintiff loves Korean

fried chicken and intends to be a customer of 92 Chicken but is dissuaded from returning to the

Property to do so because of the significant barriers to access present at the Property.

          16.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          17.   Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

          18.   Although Plaintiff did not personally encounter each and every barrier to access

identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior to filing

the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.



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       19.     Plaintiff’s inability to fully access the Property and the stores within in a safe

manner and in a manner which inhibits the free and equal enjoyment of the goods and services

offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as

recognized by Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).


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       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.     The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in



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his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       31.     Defendant, ASA PARTNERS, L.P., has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       32.     Defendant, ASA PARTNERS, L.P., will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendant, ASA PARTNERS, L.P., is compelled to

remove all physical barriers that exist at the Property, including those specifically set forth




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        herein, and make the Property accessible to and usable by Plaintiff and other persons with

disabilities.

        33.         A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

                  i.   In front of Snowflake Donuts, the accessible parking space is missing an

                       identification sign in violation of Section 502.6 of the 2010 ADAAG

                       standards. This barrier to access would make it difficult for Plaintiff to locate

                       an accessible parking space.

                ii.    In front of Snowflake Donuts, the access aisle to the accessible parking space

                       is not level due to the presence of an accessible ramp in the access aisle in

                       violation of Section 502.4 of the 2010 ADAAG standards. This barrier to

                       access would make it dangerous and difficult for Plaintiff to exit and enter

                       their vehicle while parked at the Property as the lift from the van may rest

                       upon the ramp and create an unlevel surface.

                iii.   In front of Snowflake Donuts, the accessible curb ramp is improperly

                       protruding into the access aisle of the accessible parking space in violation of

                       Section 406.5 of the 2010 ADAAG Standards. This barrier to access would

                       make it dangerous and difficult for Plaintiff to exit and enter their vehicle




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           while parked at the Property as the lift from the van may rest upon the ramp

           and create an unlevel surface.

     iv.   In front of Snowflake Donuts, the Property has an accessible ramp leading

           from the accessible parking space to the accessible entrances with a slope

           exceeding 1:12 in violation of Section 405.2 of the 2010 ADAAG standards.

           This barrier to access would make it dangerous and difficult for Plaintiff to

           access the units of the Property because when ramps are too steep (more than

           1:12) it requires too much physical arm strain to wheel up the ramp and

           increases the likelihood of the wheelchair falling backwards and Plaintiff

           being injured.

     v.    In front of Snowflake Donuts, the accessible ramp side flares have a slope in

           excess of 1:10 in violation of Section 406.3 of the 2010 ADAAG standards.

           This barrier to access would make it dangerous and difficult for Plaintiff to

           access the units of the Property because steep slopes on ramp side flares could

           cause the wheelchair to tip over and injure Plaintiff.

     vi.   In front of Snowflake Donuts, the accessible parking space is not level due to

           the presence of accessible ramp side flares in the accessible parking space in

           violation of Sections 502.4 and 406.5 of the 2010 ADAAG standards. This

           barrier to access would make it dangerous and difficult for Plaintiff to exit and

           enter their vehicle while parked at the Property as the van may rest upon the

           ramp and create an unlevel surface for Plaintiff to exit and enter their vehicle.

    vii.   The total number of accessible parking spaces is inadequate and is in violation

           of Section 208.2 of the 2010 ADAAG standards. There are 36 total parking



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            spaces at the Property, which requires a minimum of two accessible parking

            spaces, but there is only one accessible parking space. This barrier to access

            would make it difficult for Plaintiff to locate an available accessible parking

            space as such a small number of accessible parking spaces in a large parking

            lot increases the likelihood of there not being an available accessible parking

            space.

    viii.   Inside Snowflake Donuts, the interior has walking surfaces leading to the

            restroom lacking a 36 (thirty-six) inch clear width, due to a policy of placing a

            mobile cart in the accessible route, in violation of Section 403.5.1 of the 2010

            ADAAG standards. This barrier to access would make it difficult for Plaintiff

            to properly utilize public features at the Property because the width of

            Plaintiff’s wheelchair would prevent passage through areas with a width less

            than 36 inches.

     ix.    As a result of the barrier to access identified in (viii) above, there is not an

            accessible route connecting the entrance to Snowflake Donuts to the

            accessible element (restroom) inside, this is a violation of section 206.2.4 of

            the 2010 ADAAG Standards. This barrier to access would prevent or cause

            great difficulty for Plaintiff and others in a wheelchair from utilizing the

            restroom while able bodied individuals are able to access the restroom.

      x.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

            facilities are readily accessible to and usable by disabled individuals.




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RESTROOMS

       xi.    The restroom lacks signage in compliance with Sections 216.8 and 703 of the

              2010 ADAAG standards. This barrier to access would make it difficult for

              Plaintiff and/or any disabled individual to locate accessible restroom facilities.

       xii.   There is a policy of placing carts and other items adjacent to the restroom door

              hardware. As a result, the restroom door lacks a clear minimum maneuvering

              clearance, due to the proximity of the door hardware within 18 inches to the

              adjacent aforementioned objects, in violation of Section 404.2.4 of the 2010

              ADAAG standards. This barrier to access would make it difficult for Plaintiff

              and/or any disabled individual to safely utilize the restroom due to the fact

              individuals in wheelchairs have their feet sticking out in front of them and

              when there is inadequate clearance near the door (less than 18 inches), their

              protruding feet block their ability to reach the door hardware to open the door.


      xiii.   The lavatories and/or sinks in the restrooms have exposed pipes and surfaces

              and are not insulated or configured to protect against contact in violation of

              Section 606.5 of the 2010 ADAAG standards. This barrier to access would

              make it difficult for Plaintiff and/or any disabled individual to safely utilize

              the sink as the pipes underneath the sink typically have sharp surfaces and/or

              hot pipes, and since individuals in wheelchairs use a sink while seated, their

              legs are particularly vulnerable to these threats.

      xiv.    The height of the bottom edge of the reflective surface of the mirror in the

              bathroom is above the 40-inch maximum height permitted by Section 603.3 of

              the 2010 ADAAG standards. This barrier to access would make it difficult for


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            the Plaintiff and/or any disabled individual to properly utilize the mirror in the

            restroom since Plaintiff is sitting in a wheelchair and is lower than a person

            standing up.

     xv.    The grab bars/handrails are positioned more than 36” above the finished floor

            and are not positioned in accordance with Section 609.4 of the 2010 ADAAG

            standards. This barrier to access would make it difficult for Plaintiff and/or

            any disabled individual to safely utilize the restroom facilities.

    xvi.    The clear floor space of the toilet is blocked by a policy of storing toilet paper

            and other items in the clear floor space in violation of Section 606.2 of the

            2010 ADAAG standards. This barrier to access would make it difficult for the

            Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

    xvii.   The height of the toilet seat is below the minimum height of 17 (seventeen)

            inches in violation of Section 604.4 of the 2010 ADAAG standards. This

            barrier to access would make it difficult for Plaintiff and/or any disabled

            individual to safely utilize the toilet as a too low toilet seat causes difficulty in

            transferring to and from a wheelchair.

   xviii.   The toilet paper dispenser in the accessible toilet is not positioned seven to

            nine inches in front of the toilet and therefore is in violation of Section 604.7

            of the 2010 ADAAG standards. This barrier to access would make it difficult

            for Plaintiff to utilize the toilet due to the fact the toilet paper dispenser is at

            an improper distance from the toilet, given Plaintiff’s disability, Plaintiff

            would not be able to get up and reach the toilet paper.




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       34.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       35.       Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       36.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.       All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       38.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       39.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, ASA

PARTNERS, L.P., has the financial resources to make the necessary modifications. According

to the Property Appraiser, the appraised value of the Property is $911,652.00.

       40.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       41.       Upon information and good faith belief, the Property has been altered since 2010.

       42.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with



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the 1991 ADAAG standards.

       43.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

ASA PARTNERS, L.P., is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Property, including those alleged herein.

       44.     Plaintiff’s requested relief serves the public interest.

       45.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, ASA PARTNERS, L.P.

       46.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, ASA PARTNERS, L.P., pursuant to 42 U.S.C. §§ 12188 and 12205.

       47.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, ASA

PARTNERS, L.P., to modify the Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)     That the Court find Defendant, ASA PARTNERS, L.P., in violation of the ADA

               and ADAAG;

       (b)     That the Court issue a permanent injunction enjoining Defendant, ASA

               PARTNERS, L.P., from continuing their discriminatory practices;

       (c)     That the Court issue an Order requiring Defendant, ASA PARTNERS, L.P. to (i)

               remove the physical barriers to access and (ii) alter the Property to make it readily

               accessible to and useable by individuals with disabilities to the extent required by

               the ADA;




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 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: November 16, 2023

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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